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 9                       UNITED STATES DISTRICT COURT
10                    SOUTHERN DISTRICT OF CALIFORNIA
11 Citizens For Quality Education                   Case No. 3:17-cv-1054-BAS (JMA)
12 San Diego, et al.,
                                                    PLAINTIFFS’ EX PARTE
13                                                  APPLICATION FOR LIMITED
                 Plaintiffs,                        EXPEDITED DISCOVERY
14

15
     vs.

16
     San Diego Unified School District, et al.,
17

18
19              Defendants.

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21         Plaintiffs respectfully apply ex parte for limited expedited discovery to develop the
22 factual record available for its pending motion for preliminary injunction. Plaintiffs’

23 narrowly and carefully tailored request is reasonable in light of their move for injunctive

24 relief because it is based directly on the substance of their constitutional and statutory

25 claims. Also, the purpose of the requested disovery will benefit both Plaintiffs and the

26 Court with minimal burden on Defendants. This application is supported by the attached
27 (1) Memorandum of Points and Authorities; (2) the Declaration of Charles LiMandri; and

28 (3) Plaintiffs’ proposed discovery requests.

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 1        In accordance with Rule 83.3(h) of the Local Civil Rules for the United States
 2 District Court for the Southern District of California, Plaintiffs’ counsel conferred with

 3 Defendants’ counsel regarding this application on February 13, 2018. Defendants are

 4 unopposed to it.

 5        In short, granting this request for expedited discovery will enable Plaintiffs to obtain
 6 additional facts directly relevant to their request for injunctive relief. In doing so, the Court

 7 will be able to consider them in its decision, which would be in the interest of justice. A

 8 proposed Order is submitted with this application.

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10                                           Respectfully submitted,
11                                           FREEDOM OF CONSCIENCE DEFENSE FUND
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14 Dated: February 20, 2018           By:    /s/ Charles S. LiMandri
15                                           Charles S. LiMandri
                                             Paul M. Jonna
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